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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                         MDL No. 3076
                                  Case No. 1:23-md-03076-KMM


   IN RE:

   FTX Cryptocurrency Exchange Collapse Litigation

   This Document Relates To:

   Garrison, et al. v. Kevin Paffrath, Graham Stephan,
   Andrei Jikh, Jaspreet Singh, Brian Jung,
   Jeremy Lefebvre, Tom Nash, Ben Armstrong,
   Erika Kullberg, and Creators Agency, LLC,
   Case No. 23-cv-21023
                                                         /


       REPLY IN SUPPORT OF YOUTUBER DEFENDANTS’ MOTION TO DISMISS
               PLAINTIFFS’ AMENDED COMPLAINT PURSUANT TO
                  FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
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            Defendants Graham Stephan, Andrei Jikh, Jaspreet Singh, Brian Jung, Jeremy Lefebvre,

   Erika Kullberg, and Creators Agency LLC (collectively, the “YouTuber Defendants” or
   “Movants”), by and through their respective undersigned attorneys of record, hereby file this reply

   in support of their motion to dismiss under FRCP 12(b)(6) [ECF No. 265] and in response to
   Plaintiff’s consolidated opposition [ECF No. 372].

   I.       Introduction

            Although the Court permitted separate briefing for the YouTuber Defendants and the S&E
   Defendants, [ECF No. 216, 236], Plaintiffs tellingly file only one combined opposition [ECF No.

   372] to the YouTuber Defendants’ motion to dismiss [ECF No. 265] and the S&E Defendants’
   motion to dismiss [ECF No. 271]. As with Plaintiffs’ Amended Complaint [ECF No. 179], their

   Opposition obfuscates and conflates the YouTuber Defendants and the S&E Defendants in an

   effort to try to mislead and manufacture allegations against the YouTuber Defendants, when none
   exist.

            In the factual allegations of the Amended Complaint [ECF No. 179], Plaintiffs reference
   movant Creators Agency LLC (“Creators Agency”) once at paragraph 715 and movant Graham

   Stephan (“Stephan”) twice at paragraphs 716-717. No other movant is mentioned by name in the

   Plaintiffs’ sprawling 859 paragraph complaint, outside of the section identifying the parties. As
   to Creators Agency and Stephan, it is merely alleged, without any factual detail or support, that

   Creators Agency “procured and/or facilitated” contracts for “talent it manages” and that Stephan

   “promoted FTX as a safe investment,” not YBAs and FTTs. ECF No. 179, ¶¶ 715-717. Such
   superficial (or non-existent) allegations concerning these Movants are clearly insufficient to

   support any claim against the YouTuber Defendants, let alone the fourteen separate causes of
   action brought by the Plaintiffs.

            While Plaintiffs baldly argue that “all Defendants were promoting similar messages,” to

   those of Defendants Brady and Bundchen, Opposition at 3, and that “it is appropriate for a
   Complaint to refer to parties as a group where the pleading confirms that those parties engaged in

   the same alleged conduct,” id. at 27, Plaintiffs consistently cite paragraphs of the Amended


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    Complaint in purported support for their opposition, which do not involve, relate to, or concern,

    the YouTuber Defendants. Indeed, pages 105 to 261 (paragraphs 287 to 659) of the Amended
    Complaint concern the S&E Defendants and are almost exclusively cited by the Plaintiffs in their

    Opposition as purported support, whereas only pages 272 to 280 (paragraphs 704 to 729) allegedly
    relate to the YouTuber Defendants. Similarly, of the four page preliminary statement in the

    Opposition, only one paragraph even relates to the YouTuber Defendants.

            Plaintiffs have failed to plead a sufficient cause of action against any Defendant for the
    reasons discussed in the YouTuber Defendants and S&E Defendants’ motions to dismiss. But the

    paucity of facts pled against the YouTuber Defendants cannot possibly satisfy even the most basic

    of pleading standards. As such, the Amended Complaint should be dismissed as to the YouTuber
    Defendants.

    II.     Plaintiffs Failed to State Claims under State Securities Laws

            a.      Plaintiffs Do Not State a Claim under Fla. Stat. § 517.07 (Count One)

            While the Florida Securities and Investor Protection Act (“FSIPA”), Fla. Stat. § 517.07,
    makes it unlawful for a person to sell, or offer to sell, an unregistered security, FSIPA limits

    liability to either sellers, or to specific persons – “every director, officer, partner, or agent of or

    for the seller if the director, officer, partner, or agent has personally participated or aided in making
    the sale.” Fla. Stat. § 517.211. In their Opposition (pp. 6-8), Plaintiffs do not contend that the

    YouTuber Defendants are sellers under FSIPA, but that the YouTuber Defendants are secondarily
    liable as partners or agents of FTX. However, the Amended Complaint is devoid of sufficient

    allegations that establish either a partnership or agency relationship between any of the YouTuber

    Defendants and FTX. Nor does the Amended Complaint contain facts sufficient to establish that
    the YouTuber Defendants personally participated or aided in making any sale of securities, even

    assuming arguendo that YBAs, FTTs, or FTX1 were securities.


    1
      In their Opposition (at 5), Plaintiffs remarkably claim that “[i]t is plausible to conclude the FTX
    platform” (defined by Plaintiffs’ as “FTX’s mobile application and/or web-based cryptocurrency
    investment service that places cryptocurrency trade orders on behalf of users”) is itself a security

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           Plaintiffs’ bald claim that “Digital Creators partnered with FTX to promote its platform to

    investors” (Am. Compl. ¶ 704) does not transform the YouTuber Defendants into partners with
    FTX under the law.      To be considered a partnership under Florida law, there must exist:

    “(1) a common purpose; (2) a joint proprietary interest in the subject matter; (3) the right to share
    profits and duty to share losses; and (4) joint control or right of control.” Kleiman v. Wright,

    No. 22-11150, 2023 WL 7039512, at *1 (11th Cir. Oct. 23, 2023). “These requirements are

    strictly construed and the absence of even one is fatal to the finding of a partnership.” Kleiman,
    2023 WL 7039512, at *1 (quoting Dreyfuss v. Dreyfuss, 701 So. 2d 437, 439 (Fla. Dist. Ct.

    App. 1997)). The Amended Complaint fails to allege the elements necessary to establish a legal

    partnership between any of the YouTuber Defendants and FTX.
           Nor do Plaintiffs sufficiently allege that any of the YouTuber Defendants are agents of

    FTX. Plaintiffs assert that the YouTuber Defendants were “actual agents” of FTX, which requires:
    “1) acknowledgement by the principal of the agent; 2) the agent’s acceptance; and 3) control of

    the agent by the principal.” J.P. Morgan Sec., LLC v. Geveran Invs. Ltd., 224 So. 3d 316, 329

    (Fla. Dist. Ct. App. 2017); see also Wolf v. Celebrity Cruises, Inc., 683 Fed. Appx. 786, 796
    (11th Cir. 2017). Control by the principal over an agent’s actions is the “key element” in

    establishing an agency relationship. Marchisio v. Carrington Mortgage Svcs., LLC, 919 F.3d 1288,

    1311 (11th Cir. 2019). Yet in support, Plaintiffs do not cite a single paragraph of the Amended

    Complaint that relates to any of the YouTuber Defendants, let alone sufficient allegations to

    support each element of agency (see Opp’n at 7-8, citing Am. Compl. ¶¶ 13-15, 18-26, 32-33, 56-
    61, 63-67, 84, 272-274, 274, 280-281, 409, 453, 521, 522, 726, 730-750).2 See Geveran, 224 So.

    3d at 329 (finding that plaintiff failed to state a claim against defendants where the complaint does


    because a customer signing up for the app purportedly received a YBA account by default.
    Even if true, this argument is nonsensical since elsewhere in their complaint, Plaintiffs
    acknowledge that an FTX customer could choose whether it would “stake” its assets for a potential
    return or decline to do so. ECF No. 179, at ¶ 259.
    2
      Even ¶ 726 that falls under the section identified as “Digital Creators Defendants” only contains
    claims about “some of the biggest names in sports and entertainment,” not the YouTuber
    Defendants.

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    not allege that either defendant accepted an agency agreement with the corporation or that the

    corporation exercised control over them).3      Moreover, Plaintiffs’ allegations of agency rely on
    unsupported legal conclusions that the Court is to ignore in considering whether Plaintiffs have

    pled a legally sufficient claim. Richterkessing v. Broward Sheriff’s Office, 2007 WL 9701082, at
    *2 (S.D. Fla. July 23, 2007) (citing South Fla. Water Mgmt. Dist. v. Montalvo, 84 F.3d 402, 409,

    n.10 (11th Cir. 1996)) (“The court should ignore those allegations that contain no more than

    opinions or legal conclusions.”); Honig v. Kornfeld, 339 F. Supp. 3d 1323, 1347 (S.D. Fla. 2018)
    (stating that “[t]o state a claim based on vicarious liability, a plaintiff must set forth any ultimate

    facts that establish either actual or apparent agency’”) (citations and quotations omitted).

           Plaintiffs fail to sufficiently allege that the YouTuber Defendants personally participated
    or aided in the making of a sale of an unregistered security. In Wildes v. BitConnect International

    PLC, 25 F.4th 1341, 1345 (11th Cir. 2022), the Eleventh Circuit considered “whether a person can
    solicit a purchase, within the meaning of the Securities Act, by promoting a security in a mass

    communication.” The Eleventh Circuit’s ruling did not alter the requirement under Pinter v. Dahl,

    486 U.S. 622, 647 (1988), that for liability under section 12 of the Securities Act the solicitation
    “must be motivated by a desire to serve the solicitor’s or the security owner’s financial interests.”4

    25 F.4th at 1346. The Eleventh Circuit found that, where the promotors of BitConnect used

    publicly available videos and “convinced the plaintiffs to buy BitConnect through their referral

    programs and earned a commission on those investments,” they were soliciting the purchase of


    3
      “[W]hen a party bearing the burden of proof fails to produce any supportive evidence [as to the
    existence of an agency relationship]…, a question that is ordinarily one of fact becomes a question
    of law to be determined by the court. Rubin v. Gabay, 979 So. 2d 988, 990 (Fla. Dist. Ct. App.
    2008) (where a stockbroker referred an investor to a different stockbroker who handled some
    investment in corporations that turned out to be shams, the court found the referring stockbroker
    was not liable as an agent, even where the defendant received a referral fee with respect to the
    transaction of one stock).
    4
       Florida, California, and Oklahoma courts look to the analysis in Pinter for guidance in
    interpreting state securities laws. See Beltram v. Shackleford, Farrior, Stallings & Evans, 725 F.
    Supp. 499, 500 (M.D. Fla. 1989); Viterbi v. Wasserman, 123 Cal. Rptr. 3d 231, 238(Cal. Ct. App.
    2011) (“federal cases construing federal securities laws are persuasive authority when interpreting
    our state law”); Odor v. Rose, No. CIV-07-554, 2008 WL 2557607, (W.D. Okla. June 20, 2008).

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    securities to serve their financial interests. Id. at 1347 (emphasis added); see also Pino v. Cardone

    Capital, LLC, 55 F. 4th 1253, 1259 (9th Cir. 2022) (noting “the requirement that a seller must have
    his own, independent financial interest in the sale”) (emphasis added). In De Ford v. Koutoulas,

    No. 6:22-cv-652, 2023 WL 2709816, at *15 (M.D. Fla. Mar. 30, 2023), the court stated that “[t]he
    plaintiff must thus allege not only that the defendant actively solicited investors, but that the

    plaintiff purchased securities as a result of that solicitation and that this solicitor did so to serve

    their own financial interests.” In De Ford, the court granted a defendant’s motion to dismiss where
    there were no allegations that the defendant received value or made solicitations to serve his

    financial interests despite the allegations that he promoted a cryptocurrency. Id. at *16. Here, the

    Amended Complaint generally alleges that FTX collaborated with social media influencers to
    “increase brand visibility and strengthen a brand’s reputation.” Am Compl. ¶ 711. Conspicuously

    lacking are any allegations that any of the YouTuber Defendants earned any commission or
    increased earnings related to the assets any customers maintained in their FTX accounts.

            In the recent instructive case, Underwood v. Coinbase Global, Inc. 654 F. Supp. 3d 224,

    238 (S.D.N.Y. 2023), the district court held that users of an online cryptocurrency platform,
    Coinbase, failed to sufficiently allege that the company that operated the platform “solicited” their

    transactions as required to state a claim for the sale or solicitation of unregistered securities. There,

    the plaintiffs alleged that Coinbase promoted the sale of tokens, participated in direct promotions

    including “airdrops” of free tokens, wrote news updates about the price movements of tokens, and

    linked to stories about tokens published on the internet. Id. To be held liable under Section 12 of
    the Securities Act, the purchaser-plaintiff must demonstrate the defendant’s “direct and active

    participation of the immediate sale.” Id. The district court determined that these activities “do not

    describe conduct beyond that ‘collateral’ participation that Pinter and its progeny exclude from
    Section 12 liability.” Id. (citing Wilson v. Saintine Expl. & Drilling Corp., 872 F.2d 1124, 1125

    (2d Cir. 1989) (“[C]ollateral participants who do not solicit sales cannot be liable under Section
    12(1)….”)). The court found these marketing activities and services to be “insufficient to establish

    active solicitation by a defendant.” Id. The district court also found that, even if the plaintiff pled


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    direct solicitation, it failed to plead that the plaintiff purchased and sold tokens as a result of the

    solicitation. Similarly, here, the Plaintiffs failed to sufficiently allege that any of the YouTuber
    Defendants had any direct and active participation in the sale of any FTX products and that

    Plaintiffs purchased any FTX products as a result of the alleged solicitation.5
           Finally, the Plaintiffs fail to address the YouTuber Defendants’ argument that Plaintiffs

    may not avail themselves of FSIPA unless they establish that unregistered securities were sold

    within the State of Florida. Fla. Stat. § 517.07(1); Kahan Novoa v. Safra Nat’l Bank of N.Y., 313
    F. Supp. 2d 1347, 1355 (S.D. Fla. 2003). Plaintiffs merely allege that promotional campaigns took

    place in Florida (none of which involve the YouTuber Defendants) and that FTX US moved its

    headquarters to Miami in September 2022, a few months before filing for bankruptcy. Am. Compl.
    ¶ 731-750. These deficiencies in pleading are also fatal to Plaintiffs’ claim. 67

           b.      California Corporations Code § 25504.1 (Count 8) and Oklahoma Securities
                   Law (Count 13)

           Plaintiffs have brought a claim under California Corporations Code § 25504.1, which
    requires that the plaintiff allege both a primary and secondary violation. Guo v. Robl, No. 2:22-

    cv-05576, 2023 WL 2683473, at *6 (C.D. Cal. Mar. 2, 2023). “A primary violation under Sections

    25401 and 25501 requires that (i) a Defendant offered or sold a security; (ii) in California; (iii) by
    means of a material misrepresentation or omission.” Id. A violation of section 25504.1 requires

    (i) a predicate violation; and (ii) and intent to defraud by the defendant. Id. “When the statutory


    5
      See Spicer v. Chicago Bd. Options Exch., Inc., No. 88 C 2139, 1990 WL 172712, at *2 (N.D. Ill.
    Oct. 30, 1990), aff’d, 977 F.2d 255 (7th Cir. 1992)); see also Baum v. Phillips, Appel & Walden,
    Inc., 648 F. Supp. 1518, 1530 (S.D.N.Y. 1986), aff’d sub nom., 867 F.2d 776 (2d Cir. 1989).
    6
      Plaintiff further argues that the YouTuber Defendant are not entitled to First Amendment
    Protection under Lowe v. SEC, 472 U.S. 181, 210 n.58 (1985), but as Plaintiffs have pled, the
    YouTuber Defendants at best would be acting as a publisher offering impersonal investment advice
    to the general public on a regular basis subject to the publishers exclusion from the Investment
    Advisers Act of 1940 (“Advisers Act” ) as further stated in Lowe.
    7
      Relating to the PLSRA arguments brought by Defendants Stephan, Jikh, and Lefebvre, Plaintiffs
    state in their Opposition at pg. 36 that “they assert only state-law claims.” The Securities Litigation
    Uniform Standards Act of 1998 (“SLUSA”) forbids the bringing of large securities class actions
    based upon violations of state law in federal court. That is exactly what was done here. Thus, this
    Court lacks subject matter jurisdiction.

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    scheme is viewed as a whole, therefore, it cannot be the case that aider and abettor liability in

    section 25504.1 applies to a broader spectrum of aide or assistance than secondary liability
    applicable to control persons, employees, and agents in section 25504.” AREI II Cases, 157 Cal.

    Rptr. 3d 368, 377 (Cal. Ct. App. 2013). Section 25504 “requires that a person materially aid not
    just in the transaction but in the violation itself” and section 25504.1 “requires no less.” Id. at 378.

    California courts have rejected a “‘but for’ approach to assessing material assistance [that] would

    potentially extend liability to persons who have no involvement whatsoever in the actual securities
    law violation.” Id. Where there are no allegations of false or misleading statements that plaintiffs

    relied upon, a court does not even need to address the scienter component of the statute.8 Id. at

    380; see also In re Ethereummax Investor Litig., 2023 WL 6787458, at *18 (C.D. Cal. Oct. 3,
    2023) (dismissing plaintiffs’ secondary liability claim under section 25504.1 where the complaint

    failed to identify specific conduct that would render defendant liable). Moreover, a claim under
    section 25504.1 sounds in fraud and must be pled with specificity under FRCP 9(b). Hollifield, et

    al. v. Resolute Cap. Partners Ltd., et al., No. 2:22-cv-07885, 2023 WL 8168831, at *6 (C.D. Cal.

    Aug. 1, 2023).
            The purpose for this degree of particularity is to “alert[] defendants to the precise

    misconduct with which they are charged and protect[] defendants against spurious charges of

    immoral and fraudulent behavior.” Durham v. Bus. Mgmt. Assocs., 847 F.2d 1505, 1511 (11th Cir.

    1988) (alterations added; citation and quotation marks omitted). The pleading requirements do

    not end with those found in Rule 9(b). Under the PSLRA, a complaint must “specify each statement
    alleged to have been misleading” and “the reason or reasons why the statement is misleading,” 15

    U.S.C. § 78u–4(b)(1)(B). “[W]ith respect to each act or omission alleged[,]” the complaint must

    also “state with particularity facts giving rise to a strong inference that the defendant acted with
    the required state of mind.” Id. § 78u–4(b)(2)(A). A “‘strong inference’ is one that is ‘cogent and


    8
     “The “intent to deceive or defraud element’ under Section 25504.1 requires ‘actual knowledge’
    of [the predicate violation].” Markowitz v. Diversified Lending Grp., Inc., 2010 WL 11507662, at
    *4 (C.D. Cal. Feb. 26, 2010).

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    at least as compelling as any opposing inference one could draw from the facts alleged.’” Carvelli

    v. Ocwen Fin. Corp., 934 F.3d 1307, 1318 (11th Cir. 2019) (quoting Tellabs, Inc. v. Makor Issues
    & Rights, Ltd., 551 U.S. 308, 324 (2007)).

           Similarly, under Oklahoma law, “[a]bsent the establishment of prerequisite liability by a
    primary offender [for sale of a security in violation of § 1-301], no liability may attach for aiding

    and abetting under § 1–509(G). See Howard Family Charitable Found. v. Timble, 259 P. 3d 850,

    857 (Okla. Civ. App. 2011)(citing Nikkel v. Stifel, Nicolaus & Co., Inc., 1975 OK 158, 542 P.2d
    1305 (Okla. Sup. Ct. 1975) (finding aiding and abetting liability would not lie under predecessor

    statute 71 O.S. 1971 § 408 absent such primary liability)). Section 1-301 only applies to offers or

    sales of a security “in this state” of Oklahoma. Claims under Oklahoma securities law must meet
    the heightened pleading standard under FRCP 9(b). Lillard v. Stockton, 267 F. Supp. 2d 1081,

    1111 (N.D. Okla. 2003) (assessing claims of securities fraud under predecessor statute using the
    FRCP 9(b) standard). A complaint that alleges claims for securities fraud under Oklahoma law,

    but “fails to distinguish among any of the Defendants in assigning responsibility for wrongdoing,”

    that includes “blanket and conclusory allegations [that] lack specificity as to the time, date, facts,
    and materiality of the allegations,” and fails to “allege facts demonstrating [the plaintiffs’]

    justifiable reliance” will be dismissed. Id.

           Here, Plaintiffs have failed to plead what specific material assistance the YouTuber

    Defendants supposedly provided in connection with the sale of FTX products, nor any intent to

    defraud. Again, there are no facts averred against Defendants Andrei Jikh, Jaspreet Singh, Brian
    Jung, Jeremy Lefebvre, and Erika Kullberg, except to identify them as “Parties.” As to Defendant

    Stephan, the Amended Complaint does not identify even one video or social media post that any

    Plaintiff even viewed, let alone relied. Am Compl. ¶¶ 716, 717. The Amended Complaint does
    not allege that Creators Agency even made statements, just that it managed digital creators and

    facilitated contracts between FTX and some (unnamed) talent. Am Compl. ¶ 715. Given the
    paucity of allegations about the YouTuber Defendants, no claims against them under California or

    Oklahoma securities laws can be sustained.


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    III.   Plaintiffs’ Causes of Action under Consumer Fraud and Deceptive Practices Laws
           Fail (Counts Two, Seven and Twelve)

           a.      Consumer Fraud and Deceptive Practices Laws Are Not Applicable to
                   Securities Cases

           The majority of jurisdictions hold that consumer fraud and deceptive trade practices
    statutes do not apply to securities transactions because the purchase and sale of securities is heavily

    and separately regulated by state and federal securities laws. Feng v. Walsh, No. 19-24138, 2021

    WL 8055449, at *13-14 (S.D. Fla. Dec. 21, 2021); Moecker v. Antoine, 845 So. 2d 904, 908 (Dist.
    Ct. App. Fla. 2003) (“The purpose of laws requiring the registration of securities is to protect the

    public from fraudulent and deceptive practices in the sale and marketing of securities.”); Bowen v.

    Ziasun Techs., Inc., 116 Cal. App. 4th 777, 788 (2004) (“based upon persuasive federal and out-
    of-state authority, we conclude that section 17200 does not apply to securities transactions”);

    Spinner Corp. v. Princeville Dev. Corp., 849 F.2d 388, 392 (9th Cir. 1988) (holding that the Hawaii
    Supreme Court would conclude that the state version of the FTC Act would not apply to claims

    arising from securities transactions); Stephenson v. Paine Webber Jackson & Curtis, Inc., 839 F.2d

    1095 (5th Cir. 1988) (“The FTC Act has been interpreted to preclude coverage of securities
    claims.”); Lindner v. Durham Hosiery Mills, Inc., 761 F.2d 162, 167-68 (4th Cir. 1985)

    (determining that the North Carolina Supreme Court would hold that securities transactions are
    beyond the scope of the state version of the FTCA).9 The U.S. Supreme Court noted this separation

    of authority in, Axon Enter., Inc. v. FTC, 598 U.S. 175, 180 (2023) when it stated: “Congress

    established the SEC to protect investors in securities markets, and created the FTC to promote fair
    competition. The Commissions enforce, respectively, the Securities Exchange Act and the FTC

    Act (among other laws).”

           The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.204,
    provides that “[i]t is the intent of the Legislative that, in construing subsection (1), due



    9
      Contrary to Plaintiffs’ assertion, the YouTuber Defendants did acknowledge contrary case law
    in their motion, ECF No. 265 at 12, n. 9.

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    consideration and great weight should be given to the interpretations of the Federal Trade

    Commission and the federal courts relating to s. 5(a)(1) of the Federal Trade Commission Act, 15
    U.S.C. s. 45(a)(1) as of July 1, 2017.” As noted in Spinner, the Federal Trade Commission Act

    (“FTCA”) has not been applied in a securities context since 1927, before the creation of the
    Securities and Exchange Commission in the 1930s. 849 F.2d at 391. Because in Spinner, the

    Hawaii statute, like Florida’s, directed that the act be interpreted as is section 5(a)(1) of the FTCA,

    the Ninth Circuit determined that the state legislature did not intend to regulate the field of
    securities in its state version of the FTCA. Id. at 392-93. Federal courts in Florida have applied

    the same reasoning and concluded that the Supreme Court of Florida would hold that FDUTPA

    does not apply to claims arising from securities transactions. Rogers v. Cisco Sys., Inc., 268
    F.Supp.2d 1305, 1316-17 (N.D. Fla. 2003).

           Similarly, in California, “[n]o court, however, has allowed Section 17200 claims to proceed
    where, as here, the predicate acts are securities transactions.” Betz v. Trainer Wortham & Co., Inc.,

    829 F. Supp. 2d 860, 866 (N.D. Cal. 2011). Where a complaint alleges “misrepresentations and

    omissions that occurred ‘in connection with’ the purchase or sale of covered securities,” a claim
    under section 17200 is foreclosed because section 17200 does not apply to securities transactions.

    Scala v. Citicorp Inc., No. C 10-03859, 2011 WL 900297, at *20 n.7 (N.D. Cal. 2011). While

    Oklahoma courts have not opined on this exact question, by analogy, Oklahoma courts have

    determined that claims under the Oklahoma Consumer Protection Act (“OCPA”) that are

    predicated on the same allegations as an antitrust claim are barred because Oklahoma legislature
    expressed the intention that Oklahoma’s antitrust laws be interpreted in a manner consistent with

    federal antitrust law. Major v. Microsoft Corp., 60 P.3d 511, 517 (Okla. Ct. App. 2002). On this

    basis alone, the consumer fraud claims should be dismissed.
           b.      The Heightened Pleading Standard Applies to Plaintiffs’ Consumer Fraud
                   Claims

           To state a claim under FDUTPA, a plaintiff must allege “(1) a deceptive act or unfair trade

    practice; (2) causation; and (3) actual damages.” Absorbezz, L.L.C. v. Hierseman, No. 19-61442,



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    2020 WL 6870876, at *3 (S.D. Fla. 2020) (citing Dolphin LLC v. WCI Cmtys., Inc., 715 F.3d 1243,

    1250 (11th Cir. 2013)). “The four elements of a consumer’s private action under the OCPA are:
    ‘(1) that the defendant engaged in an unlawful practice as defined at 15 O.S. § 753; (2) that the

    challenged practice occurred in the course of defendant's business; (3) that the plaintiff, as a
    consumer, suffered an injury in fact; and (4) that the challenged practice caused the plaintiff's

    injury.”’ T.D. Williamson, Inc. v. Lincoln Elec. Automation, Inc., No. 21-CV-153, 2022 WL

    16842907, at *8 (N.D. Okla. Jan. 21, 2022) (quoting Patterson v. Beall, 19 P.3d 839, 846 (Okla.
    2000)). Where a claim under California’s Unfair Competition Law (“UCL”) is based on fraud,

    the UCL requires actual reliance, proven “by showing that the defendant’s misrepresentation or

    nondisclosure was the immediate cause of the plaintiff’s injury-producing conduct.” In re Tobacco
    II Cases, 207 P. 3d 20, 39 (Cal. 2009).

            While there is a split of authority among Florida district courts as to whether FRCP 9(b)
    applies to claims brough under FDUTPA, courts assessing similar allegations have concluded that

    FRCP 9(b) does apply. See Pop v. Lulifama.com LLC, No. 8:22-cv-2698, 2023 WL 4661977, at

    * 3 (M.D. Fla. July 20, 2023); see also Morchem Indus., Inc. v. Rockin Essentials LLC, No. 1:20-
    cv-24735, 2021 WL 5014105 (S.D. Fla. June 16, 2021) (Moore, K.) (where the causes of action in

    the complaint either alleged fraud or were premised on facts alleging fraud, the heightened

    pleading standards of FRCP 9(b) applied). In Pop, the plaintiff brought a lawsuit under FDUTPA

    against a designer and social media influencer who advertised the designer’s products, alleging

    that the influencers misrepresented their material relationship with the designer and led him to
    purchase products of inferior quality. 2023 WL 4661977, at *1. The court concluded that the

    plaintiff’s   claims   sounded   in   fraud   because   the   complaint   alleged   “unscrupulous

    [practices]…likely to mislead any consumer acting reasonably in the circumstances.” Id. (citing
    from the complaint in that case). FDUTPA claims that hinge on allegations of misrepresentation

    are “grounded in fraud” and governed by FRCP 9(b). Id. (citing PB Prop. Mgmt., Inc. v. Goodman
    Mfg. Co., No. 3:12-cv-1366, 2013 WL 12172912, at *6 (M.D. Fla. Aug. 18, 2013)).




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           Federal courts in California and Oklahoma hold that claims under the UCL and OCPA,

    respectively, are subject to FRCP 9(b) and must be pled with particularity. Kearns v. Ford Motor
    Co., 567 F.3d 1120, 1125 (9th Cir. 2009); In re Apple In-App Purchase Litig., 855 F. Supp. 2d

    1030, 1039 (N.D. Cal. 2012) (where parties disagreed on whether plaintiffs’ UCL claims were
    subject to FRCP 9(b), the court found that claims that “are entirely dependent upon allegations that

    Defendant made misrepresentations and omission that are ‘grounded in fraud’” are subject to the

    heightened pleading requirement of FRCP 9(b)); T.D. Williamson, Inc. v. Lincoln Elec.
    Automation, Inc., 2022 WL 16842907, at *8 (N.D. Okla. Jan. 21, 2022) (“[Plaintiff’s] OCPA claim

    is subject to the same pleading requirements of Rule 9(b) because it relies on some form of fraud

    and misrepresentation.”).
           Here, as in Pop, the Plaintiffs failed to set forth the “who, what, when, where, and how” of

    the YouTuber Defendants’ alleged misconduct, as required under FRCP 9(b). Id. The Plaintiffs
    did not allege which statements from the YouTuber Defendants were supposedly misleading, when

    those statements were made, and which statements led the Plaintiffs to purchase the FTX products.

    Id. As in Pop, the Plaintiffs further fail to allege whether they viewed any YouTuber Defendants’
    videos or social media content before purchasing FTX products, thereby failing to plead the

    element of causation. Therefore, similar to Pop, the FDUTPA count should be dismissed.

           Even if the heightened pleading standard did not apply, and separate and apart from

    whether consumer fraud laws apply to securities transactions, Plaintiffs failed to plead facts

    sufficient to show how the YouTuber Defendants’ conduct was unfair and deceptive. In their
    Opposition (at 14), Plaintiffs assert their “consumer protection claims allege that Defendants

    deceptively represented FTX to be safe, reliable, and superior to other investment options” and

    that Defendants “deceptively failed to disclose their compensation and financial motivation.”
    However, with respect to the YouTuber Defendants, the Amended Complaint does not describe

    what any social media posts said about FTX, and what those YouTuber Defendants or their social
    media posts did, or did not say, about any financial relationship with FTX. The Amended

    Complaint states in a vague and conclusory manner that some finance and money social media


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    influencers collaborated with FTX and worked with Defendant Creators Agency. Am Compl. ¶

    715. The Amended Complaint avers that Defendant Stephan “prior to FTX’s collapse promoted
    FTX as a safe investment” (Am. Compl. ¶ 716), but does not allege what was said by Stephan,

    when it was said, or whether any of the Plaintiffs even saw any purported videos or statements, let
    alone relied on them in deciding to purchase FTX products. There are no allegations at all about

    Defendants Andrei Jikh, Jaspreet Singh, Brian Jung, Jeremy Lefebvre, or Erika Kullberg, other

    than their description in the “Parties” section (Am. Compl. ¶¶ 70, 71, 72, 73, 75) or being lumped
    into the large group of defendants that Plaintiffs define as “Promoter and Digital Creator

    Defendants” or “Brand Ambassador Defendants (Am. Compl. at 3). Surely, this pleading does not

    suffice under even FRCP 8. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (“a
    plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than

    labels and conclusions, and a formulaic recitation of the elements of a cause of action will not
    do”).

    IV.     Plaintiffs Fail to State a Claim for Civil Conspiracy (Counts Three, Eleven) or Aiding
            and Abetting (Counts Four, Five, Nine, Ten, Fourteen)

            To state a cause of action for civil conspiracy, a plaintiff must plead “(1) an agreement

    between two or more parties; (2) to do an unlawful act or a lawful act by unlawful means; (3) the
    execution of some overt act in pursuance of the conspiracy; and (4) damage to the plaintiff as a

    result of said acts.” Logan v. Morgan, Lewis & Bockius LLP, 350 So. 2d 404, 412 (Fla. Dist. Ct.
    App. 2022); see also City of Indus. v. City of Fillmore, 129 Cal. Rptr. 433, 450 (Cal. Ct. App.

    2011) (“The elements of a civil conspiracy are (1) the formation of a group of two or more persons

    who agree to a common plan or design to commit a tortious act; (2) a wrongful act committed
    pursuant to the agreement; and (3) resulting damages.”); Edwards v. Urice, 220 P.3d 1145, 1152

    (Okla. Civ. App. 2008). Because there is no freestanding cause of action for civil conspiracy, a
    plaintiff “must further identify an actionable underlying tort or wrong.” Logan, 350 So. 2d at 412.

    Where the conspiracy claim alleges that two or more parties agreed to commit fraud, a plaintiff




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    must plead with specificity under FRCP 9(b). Am. United Life Ins. Co. v Martinez, 480 F.3d 1043,

    1067-68 (11th Cir. 2007).
           Plaintiffs’ summary of their pleadings is misleading as to the YouTuber Defendants

    because it inappropriately and incorrectly lumps together the YouTuber Defendants with the S&E
    Defendants. (Opp’n at 25). As previously stated, Plaintiffs have not alleged facts about any

    agreement between each YouTuber Defendant and FTX, let alone an agreement to commit fraud.

    Rather, the complaint vaguely states that “[m]any of the most famous finance and money social
    media influencers collaborated with FTX” and that some talent managed by Creators Agency had

    “signed contracts.” Am. Compl. ¶ 715. The complaint does not allege that Creators Agency had

    a contract with FTX, nor does it allege that any particular YouTuber Defendant had a contract with
    FTX. The Amended Complaint merely states that Defendant Stephan posted a video that FTX had

    been a “recurring sponsor.” Am. Compl. ¶ 717.
           Contrary to what Plaintiffs state in their Opposition (at 26), the Amended Complaint does

    not actually describe any specific promotional statement by the YouTuber Defendants, or which

    YouTuber Defendants, if any, purportedly “had partnership deals with FTX and were paid in cash,
    cryptocurrency, and FTX equity.” Nor do the Plaintiffs allege that the YouTuber Defendants were

    aware of red flags. (Opp’n at p. 26). Rather, the Amended Complaint cites general statements and

    comments about FTX by FTX’s new CEO as part of the company’s bankruptcy filings that are not

    specific to the YouTuber Defendants in any way. Am. Compl. ¶¶ 721-724. Based on these

    comments, the Amended Complaint leaps to the unsubstantiated conclusion that “[i]t is hard to
    imagine that anyone who has done business with FTX, including paid endorsers, would not have

    personally witnessed one or more of the deficiencies identified by Mr. Ray.” Am. Compl. ¶ 724.

    Such statements do not establish any supposed “unlawful act,” “unlawful means,” or “overt act.”
    These allegations fall far short of setting forth the elements necessary to sustain a claim for civil

    conspiracy.




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           “To state a claim for aiding and abetting a tort in Florida, a plaintiff must allege: ‘(1) an

    underlying violation on the part of the primary wrongdoer;10 (2) knowledge of the underlying

    violation by the alleged aider and abetter [sic]; and (3) the rendering of substantial assistance in

    committing the wrongdoing by the alleged aider and abettor.” Taubenfeld v. Lasko, 324 So. 3d

    529, 543-44 (Fla. Dist. Ct. App. 2021) (quoting Lawrence v. Bank of Am., N.A., 455 Fed. Appx.

    94, 906 (11th Cir. 2021)). Similarly, in California, “[a] civil cause of action for aiding and abetting

    necessarily requires a defendant to reach a conscious decision to participate in tortious activity for

    the purpose of assisting another in performing a wrongful act.” Namer v. Bank of Am., N.A., 2017

    WL 4391710, at *2 (S.D. Cal. 2017) (internal citations omitted). By contrast, the Oklahoma

    Supreme Court has not recognized a cause of action for aiding and abetting fraud. Almeida v.

    BOKF, NA, 471 F. Supp. 3d 1181, 1196 (N.D. Okla. 2020) (noting that there are several reasons

    to believe that the Oklahoma Supreme Court would decline to recognize a cause of action for

    aiding and abetting); Transp. Alliance Bank, Inc. v. Arrow Trucking Co., No. 10-CV-16, 2011

    WL 221863 (N.D. Okla. Jan. 21, 2011) (“It does not appear that Oklahoma recognizes a cause

    of action for acquiescing in, or aiding and abetting, common law fraud.”). As a preliminary

    matter, Count Fourteen for Aiding and Abetting Fraud under Oklahoma law must be dismissed.

           Claims under Florida and California law for aiding and abetting are deficient because, at a

    minimum, Plaintiffs failed to plead that any YouTuber Defendant has knowledge of a fraud by

    FTX. “Conclusory statement[s] that a defendant ‘actually knew’ [is] insufficient to support an

    aiding and abetting claim where the facts in the complaint only suggest[] that the defendant ‘should

    have known that something was amiss.’” Platinum Ests. v. TD Bank, N.A., No. 11-60670, 2012

    WL 760791, at *3 (S.D. Fla. Mar. 8, 2012) (quoting Groom v. Bank of Am., No. 8:08-cv-2567,

    2012 WL 50250, at *3 (M.D. Fla. Jan. 9, 2012)). Alleging that defendants somehow “should have

    known of FTX’s wrongdoing” (Opp’n at 28) or “were exposed to red flags of fraud” (Opp’n at 26)


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       The YouTuber Defendants do not concede that Plaintiffs adequately pled the existence of an
    underlying violation (Opp’n at 28), but this issue is not relevant given Plaintiffs’ failure to plead
    the elements of aiding and abetting as to the YouTuber Defendants.


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    does not suffice. Platinum, 2012 WL 760791, at *4 (“Plaintiff has failed to allege sufficiently the

    requisite degree of scienter, because red flags or aroused suspicions do not constitute actual
    awareness of one’s role in a fraudulent scheme.”). Plaintiffs failed to plead necessary knowledge

    of wrongdoing to survive a motion to dismiss as to aiding and abetting.
    V.     Plaintiffs’ Arguments for Declaratory Relief Fail (Count Six)

           In order to state a claim under the Federal Declaratory Judgment Act (“FDJA”), “under the

    facts alleged, there must be a substantial continuing controversy between parties having adverse
    legal interests…. The controversy between the parties cannot be conjectural, hypothetical, or

    contingent; it must be real and immediate, and create a definite, rather than speculative threat of
    future injury.” A&M Gerber Chiropractic LLC v. GEICO Gen. Ins. Co., 925 F.3d 1205, 1210-11

    (11th Cir. 2019). “[I]njuries sustained from ‘past conduct’ will not support a claim for declaratory

    relief absent a showing ‘that such conduct has continued or will be continued in the future.’”
    Corporacion Industrial de Energia, C.A. v. JPMorgan Chase Bank, N.A., 2023 WL 34643, at *3

    (S.D. Fla. Jan. 4, 2023) (quoting Emory v Peeler, 756 F.2d 1547, 1552 (11th Cir. 1985)).
           Here, Plaintiffs argue there is a “real and immediate likelihood of future injury,” not based

    on the actions of the Defendants, but on the vague basis that “cryptocurrency is being used by

    organized crime syndicates and nation-states for illicit purposes” and that “unless a workable,
    coordinated, and organized structure is established now, the FTX victims will continue to suffer.”

    Opp’n at 29. First, the alleged future injury does not involve the actions of any of the defendants

    in this case, even though the law requires “a substantial continuing controversy between parties
    having adverse legal interests.” Second, the allegations that “organized crime syndicates and

    nation-states” may do something illicit with cryptocurrency in the future falls far short of meeting
    the requirements of a definite, concrete threat. Third, the fact that FTX filed for bankruptcy in

    November 2022, Am. Compl. ¶ 31, forecloses any future possibility of the type of alleged

    promotional conduct on behalf of FTX about which Plaintiffs complain.
           In addition, the question of “whether the YBAs were sold illegally and whether Defendants

    illegally solicited their purchases from Plaintiffs,” (Opp’n at pp. 29-30) is one that must be resolved


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    in connection with Plaintiffs’ claims under Florida, California and Oklahoma securities laws

    (Counts One, Eight and Thirteen), as primary liability is a predicate to secondary liability. “[A]
    trial court should not entertain an action for declaratory judgment on issues which are properly

    raised in other counts of the pleadings and already before the court, through which the plaintiffs
    will be able to secure full, adequate and complete relief. Marmol v. Kalonymus Dev. Partners,

    LLC, Nos. 22-20703 and 22-20881, 2023 WL 2524884 (S.D. Fla. Mar. 15, 2023). Therefore,

    Plaintiffs’ claim under the FDJA should be dismissed.
    VI.    FTX is a Necessary Party under FRCP 19

           The allegations in the Amended Complaint demonstrate that FTX’s actions are at the core
    of this lawsuit. Am. Compl. ¶¶ 1-5 (“SBF and his FTX Group caused billions of dollars in losses

    to Plaintiffs”; “SBF and the FTX Group stole customer deposits and used billions of dollars in

    customer funds”; “The FTX Platform maintained by the FTX Group was truly a house of cards”;
    “the FTX Group offered and sold securities without proper registration”).              The Amended

    Complaint avers that SBF’s and the FTX Group’s “conduct violated numerous laws, including
    laws related to the sale of unregistered securities, consumer protection, professional malpractice,

    fraud, and conversion.” Am. Compl. ¶ 5. Plaintiffs seek to hold the YouTuber Defendants

    secondarily liable under state securities laws that require a showing of FTX’s alleged primary
    liability. Therefore, FTX, the absent party, has an interest in the disposition of the proceedings.

    FRCP 19(a)(1)(B)(i). See Laker Airways, Inc. v. British Airways, PLC, 182 F.3d 843, 847-48 (11th

    Cir.1999) (finding the interests of the absent party under the circumstances were “more significant
    than those of a routine joint tortfeasor” because plaintiff’s antitrust claims necessarily required the

    court to evaluate the absent party’s conduct in relation to plaintiff, thus “substantially implicating”
    the absent party’s conduct). Although courts have held that joint tortfeasors need not all be joined

    in one lawsuit, the Eleventh Circuit holds that “a joint tortfeasor will be considered a necessary

    party when the absent party emerges as an active participant in the allegations made in the
    complaint that are critical to the disposition of the important issues in the litigation.” Id. at 848




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    (internal citations omitted). Such is the case here. Because FTX is a necessary party but the

    bankruptcy stay prevents FTX from being joined, this case should be dismissed. FRCP 19(b).
    VII.   The Amended Complaint is a Shotgun Pleading against the YouTuber Defendants

           The Amended Complaint is a shotgun pleading as to the allegations made against the

    YouTuber Defendants. Contrary to Plaintiffs’ assertion, the Amended Complaint as to the

    YouTuber Defendants is not “pled on a person-by-person basis” and does not provide the

    YouTuber Defendants with adequate notice of the claims against them. Opp’n at 33. Plaintiffs
    fail to articulate facts specific to each defendant, and attempt to rely on the same general,

    conclusory, and boilerplate allegations as to all YouTuber Defendants. There are absolutely no
    factual allegations about Defendants Andrei Jikh, Jaspreet Singh, Brian Jung, Jeremy Lefebvre,

    and Erika Kullberg in the Amended Complaint. Defendant Creators Agency is mentioned only as

    “talent management” for digital creators in one paragraph. Am. Compl. ¶ 715. And Defendant
    Graham Stephan is mentioned only in just two paragraphs (Am Comp. ¶¶ 716-17), neither of which

    allege any facts identifying or describing any videos or statements posted before the FTX collapse,
    any arrangements with FTX, or that any of the Plaintiffs saw any purported posts from Stephan

    and justifiably relied and acted upon them.       The section of the Amended Complaint that

    purportedly relates to the “Digital Creators Defendants” (Am Compl. ¶¶ 704-29) largely consists
    of statements about social media influencing in general and statements by FTX’s new CEO about

    FTX, not anything that any of the YouTuber Defendants said or did. Instead, Plaintiffs either lump

    the YouTuber Defendants into a group of twenty-one defendants, defined as “Promoter and Digital
    Creator Defendants” (Am. Compl. at 3), or into a group of defendants across several different class

    actions, defined as “MDL Defendants” (Am. Compl. at 2). According to Plaintiffs, the Defendants
    have all done precisely the same things. Worse, the allegations themselves are purely conclusory

    recitations of legal elements of the type condemned by Twombly/Iqbal. This is a quintessential

    shotgun pleading as to the YouTuber Defendants. See Magnum Constr. Mgmt., LLC v. WSP USA
    Sols., Inc., 522 F. Supp. 3d 1202, 1206 (S.D. Fla. 2021); Weiland v. Palm Beach Cnty. Sheriff’s

    Off., 792 F.3d 1313, 1321-23 (11th Cir. 2015).


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    VIII. Conclusion

           For the foregoing reasons and those articulated in their motion to dismiss under FRCP

    12(b)(6), the YouTuber Defendants respectfully request that the Amended Complaint be dismissed

    with prejudice11 and award them attorneys’ fees and costs pursuant to Fla. Stat. §§ 501.2105(1)

    and 517.211(6).

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on December 6, 2023, a true and correct copy of the foregoing

    was filed electronically with the Clerk of the Court, by using the CM/ECF system, causing a true

    and correct copy to be served on all counsel of record.
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       Plaintiffs claim that amendment would not be futile because “[e]ven in the past several months,
    new information has been revealed from the federal criminal trial of SBF.” Opp’n at 36. Plaintiffs
    fail, however, to describe what “new information” has come to light about the YouTuber
    Defendants, nor could they. In addition, it was recently revealed that counsel for Plaintiffs has
    been utilizing “confidential mediations” in this case to try and gather discovery in order to file
    “more FTX complaints.” FTX Investors Sue MLB, F1 Team Over Crypto Promotions, Law360,
    November 27, 2023, quoting Adam Moskowitz, at https://www.law360.com/articles/1770249/ftx-
    investors-sue-mlb-f1-team-over-crypto-promotions. As such, in addition to the futility of
    amendment, the Court should deny leave to amend due to Plaintiffs’ bad faith use of the
    confidential mediation process.

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